     Case 3:18-cv-07591-CRB Document 1415 Filed 06/02/22 Page 1 of 4



 1   DAVID CHIU, State Bar # 189542
     City Attorney
 2   YVONNE R. MERE, State Bar # 173594
     Chief Deputy City Attorney
 3   SARA J. EISENBERG, State Bar # 269303
     Chief of Complex & Affirmative Litigation
 4   OWEN J. CLEMENTS, State Bar # 141805
     JAIME M. HULING DELAYE, State Bar # 270784
 5   JOHN H. GEORGE, State Bar # 292332
     Deputy City Attorneys
 6   Fox Plaza
     1390 Market Street, Sixth Floor
 7   San Francisco, CA 94102
     Telephone: 415.554.3597
 8   jaime.hulingdelaye@sfcityatty.org

 9   Attorneys for Plaintiff The People of the State of
     California, acting by and through San Francisco
10   City Attorney David Chiu

11   [Additional counsel appear on signature page.]

12                                UNITED STATES DISTRICT COURT

13                             NORTHERN DISTRICT OF CALIFORNIA

14                                    SAN FRANCISCO DIVISION

15   THE CITY AND COUNTY OF SAN                           Case No. 3:18-cv-07591-CRB
     FRANCISCO, CALIFORNIA and THE PEOPLE
16   OF THE STATE OF CALIFORNIA, Acting by                THE PEOPLE’S NOTICE OF EXHIBITS
     and through San Francisco City Attorney DAVID        ADMITTED ON JUNE 2, 2022, SUBJECT
17   CHIU,                                                TO OBJECTION

18                      Plaintiffs,                       Hon. Charles R. Breyer

19          v.

20   PURDUE PHARMA L.P., et al.

21                      Defendants.

22

23

24

25

26

27

28
      Case 3:18-cv-07591-CRB Document 1415 Filed 06/02/22 Page 2 of 4



 1   On June 2, 2022, the following exhibits were admitted into evidence subject to objection(s):

 2
       TREX List Exhibit
 3                                                   Exhibit Description
           Number
 4   P-00015                   WAG 2013 Settlement Agreement
     P-00027                   Background for RX integrity on DEA Issues
 5
     P-00059                   Re: Ceiling Update
 6                             Email State of Integrity, Attachment State of Rx Integrity 10
     P-00062                   PPT
 7                             Fw: DEA Suspicious Order - Phase III; Functional Requirements
     P-00128                   & (Macro) Design, DEA Suspicious Ordering - Phase III,
 8                             (Controlled Substance Threshold), Project Number W0018238
 9   P-01268                   Diversion Investigator Manual
     P-04873                   TDGFD Green Belt Project Meeting
10
     P-19566                   E-mail Re DEA issue at store 6094
11                             FW: Targeted drugs for GFD; DEA Financial Impact Project
     P-19574                   Control3
12
                               Rannazzisi Presentation - Drug Trends Indianapolis - December
     P-19656
13                             2012
     P-20213                   E. Bratton Errata
14
     P-20639                   DEA market leadership Jan2013 PowerPoint
15   P-20657                   Woodland DC DEAR Review
16                             Email National Target Drug Good Faith Dispensing (TD GFD)
     P-20789                   Documents Attachments
17   P-20799                   Fwd: Good Faith Dispensing - High Risk Products Discussion
18   P-20801                   FW: Target Drug Good Faith Dispensing
                               Report of the Task Force on Prescription Drug Abuse, National
     P-29558
19                             Association of Boards of Pharmacy
                               Nine Prescription Opioids Dispensed by Walgreens, by Drug in
20   P-29837                   Dosage Units
21   P-29849                   Target Drug Opioid Prescriptions Versus Target Drug Checklists

22

23    DATED: June 2, 2022                              Respectfully submitted,
24                                                     LIEFF CABRASER HEIMANN &
      David Chiu                                       BERNSTEIN, LLP
25    City Attorney                                    /s/ Kevin R. Budner
      Yvonne R. Mere                                   Elizabeth J. Cabraser
26    Sara J. Eisenberg                                Richard M. Heimann
      Owen J. Clements                                 Mark P. Chalos
27    Jaime M. Huling Delaye                           Paulina do Amaral
      John H. George                                   Kevin R. Budner
28    Deputy City Attorneys                            Michael Levin-Gesundheit
                                                                      PEOPLE’S NOTICE OF ADMITTED EXHIBITS
                                                    -1-
                                                                                   CASE. NO. 18-CV-07591-CRB
     Case 3:18-cv-07591-CRB Document 1415 Filed 06/02/22 Page 3 of 4



 1   Fox Plaza                                  Jacob Polin
     1390 Market Street, Sixth Floor            Miriam Marks
 2   San Francisco, CA 94102                    Ian Bensberg
     Telephone: 415.554.3957                    LIEFF CABRASER HEIMANN &
 3   jaime.hulingdelaye@sfcityatty.org          BERNSTEIN, LLP
                                                275 Battery Street, 29th Floor
 4                                              San Francisco, California 94111-3339
                                                Telephone: 415.956.1000
 5                                              Facsimile: 415.956.1008
                                                kbudner@lchb.com
 6
     Paul J. Geller                             Aelish M. Baig
 7   Mark J. Dearman                            Hadiya K. Deshmukh
     Dorothy P. Antullis                        ROBBINS GELLER RUDMAN & DOWD
 8   robbins geller rudman & DOWD LLP           LLP
     120 East Palmetto Park Road, Suite 500     Post Montgomery Center
 9   Boca Raton, FL 33432                       One Montgomery Street, Suite 1800
     Telephone: 561/750-3000                    San Francisco, CA 94104
10   561/750-3364 (fax)                         Telephone: 415/288-4545
     pgeller@rgrdlaw.com                        415/288-4534 (fax)
11                                              aelishb@rgrdlaw.com

12
     Louise Renne                               Thomas E. Egler
13   RENNE PUBLIC LAW GROUP                     Carissa J. Dolan
     350 Sansome Street, Suite 300              ROBBINS GELLER RUDMAN & DOWD
14   San Francisco, CA 94104                    LLP
     Telephone: 415/848-7240                    655 West Broadway, Suite 1900
15   415/848-7230 (fax)                         San Diego, CA 92101
     lrenne@publiclawgroup.com                  Telephone: 619/231-1058
16                                              619/231-7423 (fax)
                                                tome@rgrdlaw.com
17
     Kevin Sharp                                Jennie Lee Anderson
18   SANFORD HEISLER SHARP, LLP                 Paul Laprairie
     611 Commerce Street, Suite 3100            ANDRUS ANDERSON LLP
19   Nashville, TN 37203                        155 Montgomery Street, Suite 900
     Telephone: 615/434-7000                    San Francisco, CA 94104
20   615/434-7020 (fax)                         Telephone: 415/986-1400
     ksharp@sanfordheisler.com                  415/986-1474 (fax)
21                                              jennie@andrusanderson.com

22   David S. Casey, Jr.                        Edward Chapin
     Gayle M. Blatt                             SANFORD HEISLER SHARP, LLP
23   Alyssa Williams                            655 West Broadway, Suite 1700
     CASEY GERRY SCHENK FRANCAVILLA             San Diego, CA 92101
24   BLATT & PENFIELD LLP                       Telephone: 619/577-4253
     110 Laurel Street                          619/577-4250 (fax)
25   San Diego, CA 92101-1486                   echapin2@sanfordheisler.com
     Telephone: 619/238-1811
26   619/544-9232 (fax)
     dcasey@cglaw.com
27   gmb@cglaw.com
     awilliams@cglaw.com
28
                                                              PEOPLE’S NOTICE OF ADMITTED EXHIBITS
                                              -2-
                                                                           CASE. NO. 18-CV-07591-CRB
     Case 3:18-cv-07591-CRB Document 1415 Filed 06/02/22 Page 4 of 4



 1   Paul F. Novak                                    Ellen Relkin
     Tiffany Ellis                                    WEITZ & LUXENBERG P.C.
 2   WEITZ & LUXENBERG, P.C.                          700 Broadway
     24th Floor, The Fisher Building                  New York, NY 10003
 3   3011 W. Grand Boulevard                          Telephone: 212/558-5500
     Detroit, Michigan 48202                          212/344-5461 (fax)
 4   Tel: (313) 800-4170                              erelkin@weitzlux.com
     pnovak@weitzlux.com
 5   tellis@weitzlux.com

 6   Attorneys for Plaintiff The People of the State of California, acting by and through San
     Francisco City Attorney David Chiu
 7

 8   Jayne Conroy (pro hac vice)                      Peter J. Mougey (pro hac vice)
     Andrea Bierstein (pro hac vice)                  Page A. Poerschke (pro hac vice)
 9   Ellyn Hurd (pro hac vice)                        Laura S. Dunning (pro hac vice)
     Justin Presnal (pro hac vice)                    Jeff Gaddy (pro hac vice)
10   Tom Sheridan (pro hac vice)                      LEVIN, PAPANTONIO, RAFFERTY,
     SIMMONS HANLY CONROY LLC                         PROCTOR, BUCHANAN, O’BRIEN, BARR
11   112 Madison Avenue, 7th Floor                    & MOUGEY, P.A.
     New York, NY 10016                               316 S. Baylen St., Ste. 600
12   (212) 784-6400                                   Pensacola, FL 32502
     (212) 213-5949 (fax)                             (850) 435-7068
13   jconroy@simmonsfirm.com                          pmougey@levinlaw.com
     abierstein@simmonsfirm.com                       ppoerschke@levinlaw.com
14   ehurd@simmonsfirm.com                            ldunning@levinlaw.com
     jpresnal@simmonsfirm.com                         jgaddy@levinlaw.com
15   tsheridan@simmonsfirm.com
16

17                       MDL Co-Lead, Plaintiff Executive Committee Counsel

18

19

20

21

22

23

24

25

26

27

28
                                                                      PEOPLE’S NOTICE OF ADMITTED EXHIBITS
                                                   -3-
                                                                                   CASE. NO. 18-CV-07591-CRB
